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Upon motion of the United States, the indictment in the instant case is hereby

dismissed without prejudice.

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§T is so oRoEREo this 1 '7 day of May, 2005.

   
  

ERN|CE B. ONALD
N|TED STATES D|STR|CT JUDGE

 

Assistant U. S. Attorney

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UNITED sATE DISTRICT COURT - WETERN DISTRCT oFTENNEssEE

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Sidney L. Moore

LAW OFFICE OF SIDNEY L. MOORE
One Park ToWer

34 Peachtreet St NW Ste 2560

Atlanta, GA 30303

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

